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 1                                                           The Honorable Richard A. Jones
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 7                          UNITED STATES DISTRICT COURT FOR THE
                              WESTERN DISTRICT OF WASHINGTON
 8
                                        AT SEATTLE
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      UNITED STATES OF AMERICA,                         NO. CR16-171RAJ
11
                             Plaintiff,
12
                       v.                               ORDER TO SEAL
13
      ISAAC MEZA-ESPINOZA,
14
                             Defendant.
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            Having read the Government’s Motion to Seal and because of the sensitive
17
     information contained in the Memorandum,
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            It is hereby ORDERED that the Government’s Motion to Seal (Dkt. #73) is
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     GRANTED and the United States’ Memorandum shall remain sealed.
20
            DATED this 3rd day of February, 2017.
21
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23
                                                    A
                                                    The Honorable Richard A. Jones
24                                                  United States District Judge
25
26
27
28
     Order to Seal - 1                                                      UNITED STATES ATTORNEY
                                                                           700 STEWART STREET, SUITE 5220
     Meza-Espinoza, CR16-171RAJ                                              SEATTLE, WASHINGTON 98101
                                                                                   (206) 553-7970
